          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 1 of 17


                                                                               September 13, 2007




                                            07-80849-Civ-Hurley/Hopkins




1 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 2 of 17




2 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 3 of 17




3 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 4 of 17




4 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 5 of 17




5 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 6 of 17




6 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 7 of 17




7 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 8 of 17




8 of 17
          Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 9 of 17




9 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 10 of 17




10 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 11 of 17




11 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 12 of 17




12 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 13 of 17




13 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 14 of 17




14 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 15 of 17




15 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 16 of 17




16 of 17
           Case 9:07-cv-80849-DTKH Document 1 Entered on FLSD Docket 09/13/2007 Page 17 of 17




17 of 17
